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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO
    MUNICIPALITY OF BAYAMON, et al.,

                        Plaintiffs,                             Case No. 3:22-cv-01550-DRD

                            v.

    EXXON MOBIL CORP., et al.,

                       Defendants.


      PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS ARCH
            RESOURCES, INC. AND PEABODY ENERGY CORPORATION

          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs provide

notice and voluntarily dismiss Defendants Arch Resources, Inc. f/k/a Arch Coal, Inc. (“Arch”)1

and Peabody Energy Corporation (“Peabody”)2 from this action. Plaintiffs further state:

          1.       Neither Arch nor Peabody have been served with the Complaint or filed an

answer, other responsive pleading, or motion for summary judgment.

          2.       Plaintiffs dismiss all claims against Arch and Peabody without prejudice.



    Dated: April 21, 2023                            By: /s/ Roy L. Mason
                                                     Roy L. Mason
                                                     USDC-PR Bar No. 308164
                                                     SMOUSE & MASON LLC
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                                                     Attorney for Plaintiffs


1
 Arch is identified on the docket as “Arch Resources Incorporated” “formerly known as Arch
Coal Company.”
2
    Peabody is identified on the docket as “Peabody Energy Incorporated.”
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                                CERTIFICATE OF SERVICE
       I hereby certify that on April 21, 2023, the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.

                                                     /s/ Roy L. Mason
                                                     Roy L. Mason




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